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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA




   In re Ex Parte A pplication of                              CaseNo. l9a 1+ ll9'-X k

   CHAPTER 4 CORP.,d/b/aSUPREM E NEW
   YO RK

                             A pplicant,

   ForanOrderPursuantto 28U.S.C.j 1782Granting
   Leave to Obtain Discovery from M onikerO nline
   Services,LLC forU se in Foreign Proceedings.




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  'E
   ORPFOR ANOORDER
           .
             RDERGPURSUANT
                   MNTINGETOXP28ARU.TS.EC.
                                        APjP1782
                                            FICAGMTIONOFCHAPTER4
                                                     NTING LEAVE TO
    OBTAIN DISCOVERY FRO M M ONIKER ONLINE SERVICES,LLC FO R USE IN
                        FOREIGN PRO CEEDINGS.
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         IT IS ORDERED thatChapter4 Corp.'sEx ParteApplication foran OrderPursuantto 28

 U.S.C.j1782GrantingLeavetoObtainDiscoveryforUseinForeignProceedingsisG                      ED.
         Chapter4 Corp.shallbe granted leave to seek discovery from M oniker Online Servicesy
                                                                                              J

 LLC foruseintheforeignproceedingsdescribed in Chapter4 Corp.'sExéarteApplicationby
  servicing M oniker Online Services with a Subpoena substantially similar in form to the one

  subm itted with Chapter 4 Corp.'s A pplicationp and the subpoena m ay require a response to be

  subm itted by M oniker Online Services within 14 days ofthisO rder.

         IT Is so O R D ERED
  DONEAND ORDERED this dayof                   SC       ,   2019


                                                               UnitedstaiesDistrictCo       dge
  Copiesfurnished:A11counselofrecord

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